                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION


PANDUIT CORP.,                               )
                       Plaintiff,            )
                                             )
v.                                           )      JUDGMENT
                                             )
                                             )      No. 5:18-CV-229-FL
CORNING INCORPORATED                         )
               Defendants.                   )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the consent order for entry
of judgment entered November 10, 2021, judgment is entered in favor of Corning and against
Panduit that the Accused Processes do not infringe the claims of the Asserted Patents under the
Court’s September 27, 2021 Order.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Corning’s unadjudicated
affirmative defenses and counterclaims of non-infringement and invalidity of the Asserted Patents
are DISMISSED WITHOUT PREJUDICE, and without prejudice to reassert the foregoing
affirmative defenses and counterclaims in the event of remand or other assertions by Panduit under
the Asserted Patents.

This Judgment Filed and Entered on November 10, 2021, and Copies To:
Daniel S. Stringfield / Katherine D. Cappaert / Kelly Eberspecher / Katherine H. Johnson / F.
Hill Allen, IV (via CM/ECF Notice of Electronic Filing)
Eric D. Hayes / Mark T. Calloway / Michael J. Newton (via CM/ECF Notice of Electronic
Filing)

November 10, 2021                    PETER A. MOORE, JR., CLERK
                                       /s/ Sandra K. Collins
                                     (By) Sandra K. Collins, Deputy Clerk




          Case 5:18-cv-00229-FL Document 160 Filed 11/10/21 Page 1 of 1
